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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       Filed: January 24, 2020

*************************
MARIE ALTEMA,                              *      No. 17-1286V
                                           *
                     Petitioner,           *      Special Master Sanders
v.                                         *
                                           *
SECRETARY OF HEALTH                        *      Stipulation for Award; Influenza (“flu”)
AND HUMAN SERVICES,                        *      Vaccine; Transverse Myelitis (“TM”)
                                           *
                     Respondent.           *
*************************
Isaiah Richard Kalinowski, Maglio, Christopher & Toale, Washington, DC, for Petitioner.
Debra A. Filteau Begley, United States Department of Justice, Washington, DC, for Respondent.

                                            DECISION 1

        On September 18, 2017, Marie Altema (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-10 to -34
(2012); Pet. at 1, ECF No. 1. Petitioner alleged that the influenza (“flu”) vaccine she received on
October 29, 2015, caused her to develop Transverse Myelitis (“TM”). See Stip. at 1, ECF No. 50;
Pet. at 2–3. Petitioner further alleged that she experienced the residual effects of her injury for
more than six months. Stip. at 1.

         On January 23, 2020, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Id. at 2. Respondent denies that the flu vaccine
caused Petitioner’s alleged TM, or any other injury. Id. at 1. Nevertheless, the parties agree to the
joint stipulation, attached hereto as Appendix A. I find the stipulation reasonable and adopt it as
the decision of the Court in awarding damages, on the terms set forth therein.




1
  This decision shall be posted on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2012)). This means the Decision will be
available to anyone with access to the Internet. As provided by Vaccine Rule 18(b), each party
has 14 days within which to request redaction “of any information furnished by that party: (1) that
is a trade secret or commercial or financial in substance and is privileged or confidential; or (2)
that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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        The parties stipulate that Petitioner shall receive the following compensation:

                A lump sum of $200,000.00 in the form of a check payable to
                [P]etitioner. This amount represents compensation for all damages
                that would be available under 42 U.S.C. § 300aa-15(a).

Id. at 2.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation. 3

        IT IS SO ORDERED.

                                                     s/Herbrina D. Sanders
                                                     Herbrina D. Sanders
                                                     Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
